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                                                                          U.S.D!?Tf;|CT CSURT
                                                                              I.-:' JSTA DIV.
                         IN THE UNITED STATES DISTRICT COURT
                                                                          2016 APR 28 AM 10: 06
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                        CLERK.
                                      DUBLIN DIVISION                         SO.DiST.nPGA.


UNITED STATES OF AMERICA
                                                                  CASE NO: CR315-13
                VS.


KEVIN MCGOWEN
                                           ORDER


        The indictment   filed against Kevin McGowen was dismissed with prejudice on April 14,
2016.


        Surety, Edgar Doyle McGowan,has requested the return ofthe $5,000.00 cash security
posted on the defendant's $50,000.00 bond.
        IT IS HEREBY ORDERED that the cash collateral in the amount of $5,000.00 posted
by Edgar Doyle McGowan for this defendant, plus all accrued interest thereon, be returned to:
 Doyle McGowan at 517 Blackshear Ferry Road West, Dublin, GA 31021.



                      day of
                                                 ,2016 at Augusta, Georgia
         This




                                                 DUDLEY H. BOVteN, JR., DISTRICT
                                                      UNITED STATES DISTRICT COURT
                                                         SOUTHERN DISTRICT OF GEORGIA
